Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 1 of 7




         EXHIBIT 164
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 2 of 7



                                                                      Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                    FOR THE DISTRICT OF MASSACHUSETTS
3
4
5        STUDENTS FOR FAIR ADMISSIONS, INC.,
6                   Plaintiff,
7        vs.                                                     Case No.
                                                            1:14-cv-14176-ADB
8
         PRESIDENT AND FELLOWS OF HARVARD
9        COLLEGE (HARVARD CORPORATION),
10                  Defendant.
11      ________________________________________________________
12
13
14
15                       DEPOSITION OF
16                          Palo Alto, California
17                          Monday, July 24, 2017
18
19
20
21
22      Reported By:
23      TAVIA A. MANNING
24      CSR No. 13294, RPR, CLR, CCRR
25

                                 Veritext Legal Solutions
     212-279-9424                  www.veritext.com                     212-490-3430
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 3 of 7



                                                                          Page 13

1                    THE WITNESS:     I think                   might have been

2       there, but I don't remember specifically speaking to her

3       about it.      But otherwise, no.

4       BY MS. SANDALS:

5               Q.   Do you have any siblings?

6               A.   No.

7               Q.   Did you speak with anybody at your high school

8       about SFFA?

9               A.   No.

10              Q.   How long after the meeting with Mr. Blum did

11      you become a member of SFFA?

12                   MR. PARK:   Objection.

13                   THE WITNESS:     Fairly soon.             I think within a

14      week.

15      BY MS. SANDALS:

16              Q.   What did you and Mr. Blum discuss at the

17      meeting at your house?

18                   MR. PARK:   Objection.

19                   I instruct the witness not to answer the

20      question.

21                   It asks about communications relating to SFFA's

22      recruitment among SFFA members, which are protected by

23      the First Amendment.

24                   Like attorney-client communication, I will

25      allow the witness to answer questions about around the

                                    Veritext Legal Solutions
     212-279-9424                     www.veritext.com                       212-490-3430
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 4 of 7



                                                                        Page 14

1       communication, you know, who was there and things of

2       that nature, but not the substance of it.

3       BY MS. SANDALS:

4               Q.     How long did the meeting with Mr. Blum last?

5               A.     It was about two hours, I think.

6               Q.     And this was before you became a member of

7       SFFA?

8                      MR. PARK:   Objection.

9                      THE WITNESS:     Yes, I think so.

10      BY MS. SANDALS:

11              Q.     Is this before                       became a -- was the

12      meeting -- strike that.

13                     Was the meeting with Mr. Blum before

14                   became a member of SFFA?

15              A.     That, I don't know.

16              Q.     Whose idea was it for you to become a member of

17      SFFA?

18                     MR. PARK:   Objection.

19                     THE WITNESS:                encouraged me to join, but

20      it was me who, like, signed up to be a member.

21      BY MS. SANDALS:

22              Q.     How did               encourage you to join?

23              A.     He told me that he felt this was something that

24      as someone applying to colleges -- who applied to

25      colleges as an Asian student, you know, this is

                                      Veritext Legal Solutions
     212-279-9424                       www.veritext.com                   212-490-3430
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 5 of 7



                                                                   Page 24

1       in forming SFFA?

2                   MR. PARK:   Objection.

3                   THE WITNESS:     I believe there were students who

4       supported the effort to found SFFA, but, again, I am not

5       confident on that.

6       BY MS. SANDALS:

7             Q.    On what do you base your belief that

8       students -- on what do you base your belief that

9       students supported the effort to found SFFA?

10                  MR. PARK:   Objection.

11                  THE WITNESS:     I believe that Edward talked

12      about it when he visited our house.

13      BY MS. SANDALS:

14            Q.    And what did he tell you?

15                  MR. PARK:   Objection.         I am going to instruct

16      the witness not to answer on the same basis as before.

17      BY MS. SANDALS:

18            Q.    Are you going to follow your counsel's

19      instruction?

20            A.    Yes.

21            Q.    Do you know whether any Asian Americans were

22      involved in founding SFFA?

23                  MR. PARK:   Objection.

24                  THE WITNESS:     I think so.

25      //

                                   Veritext Legal Solutions
     212-279-9424                    www.veritext.com                 212-490-3430
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 6 of 7



                                                                 Page 114

1       other in-person meetings with Mr. Blum; is that right?

2                    MR. PARK:   Objection.

3                    THE WITNESS:     I don't really know about any

4       contact            may have had with Mr. Blum.

5       BY MS. SANDALS:

6               Q.   And you testified earlier that you believe that

7       students supported the effort to found SFFA based on

8       something that Mr. Blum told you during the meeting at

9       your house; is that right?

10                   MR. PARK:   Objection.

11                   THE WITNESS:     Yes.

12      BY MS. SANDALS:

13              Q.   What did Mr. Blum tell you that led you to

14      believe that students supported the effort to found

15      SFFA?

16                   MR. PARK:   Objection.

17                   I am going to instruct the witness not to

18      answer.      It's communications among members protected by

19      the First Amendment.

20                   MS. SANDALS:     Even though this communication

21      took place before                was a member of SFFA?

22                   MR. PARK:   Well, so, one, I don't think he's

23      entirely clear about the timeframe or at least I am not.

24                   And, two, yes, if it was before then, I think

25      it probably could be considered an SFFA-related activity

                                    Veritext Legal Solutions
     212-279-9424                     www.veritext.com               212-490-3430
        Case 1:14-cv-14176-ADB Document 487-6 Filed 08/28/18 Page 7 of 7



                                                                 Page 123

1                   I, the undersigned, a Certified Shorthand

2       Reporter of the State of California, do hereby certify:

3                   That the foregoing proceedings were taken

4       before me at the time and place herein set forth; that

5       any witnesses in the foregoing proceedings, prior to

6       testifying, were placed under oath; that a verbatim

7       record of the proceedings was made by me using machine

8       shorthand which was thereafter transcribed under my

9       direction; that the foregoing transcript is a true

10      record of the testimony given.

11                  Further, that if the foregoing pertains to the

12      original transcript of a deposition in a Federal Case,

13      before completion of the proceedings, review of the

14      transcript [] was [X] was not requested.

15                  I further certify I am neither financially

16      interested in the action nor a relative or employee of

17      any attorney of any of the party to this action.

18                  IN WITNESS WHEREOF, I have this date

19      subscribed my name.

20

21      Dated: August 3, 2017

22

23                                 <%Signature%>

                                              TAVIA A. MANNING

24                                 CSR No. 13294, RPR, CLR, CCRR

25

                                 Veritext Legal Solutions
     212-279-9424                  www.veritext.com                  212-490-3430
